Case 2:03-CV-02423-SH|\/|-tmp Document 156 Filed 08/26/05 Page 1 of 6 Page|D 172

IN THE U'NITED STATES DISTRICT COURT *~"---U.e~

FoR THE wEsTERN DIsTRIc'r oF TENNESSEE usn _
wEsTERN DIVISION Uszs AH 531»5

 

LA.URA TAVERNI ER 1
Plaintiff,

v. No. 03-2423 M/P
THE U'NIV'ERSITY OF TENNESSEE
COLLEGE OF MEDICINE, JOI'[N
MIDTLING, individually and in
his official capacity; HENRY
HERROD, individually and in
his official capacity; RAY
WALKER, individually and in
his official capacity; and
NANCY MADDOX, individually
and in her official capacity,

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Defendants.

 

ORDER DENYING PLAINTIFF’S MOTION TO DISQUALIFY ADVERSE COUNSEL

 

Before the court is Plaintiff’s motion to disqualify attorney
Eugene Forrester, Jr., filed March 18, 2005. Defendants University
of Tennessee (“UT”), John_ E. Midtling, M.D., in his official
capacity (“Dr. Midtling”), Henry G. Herrod, M.D. (“Dr. Herrod”), in
his official capacity, Ray Walker (“Dr. Walker”) individually and
in his official capacity, and Nancy Maddox (“Ms. Maddox”),
individually and in her official capacity, responded on April 5,
2005. For the following reasons, the motion is DENIED.

I. Background

This case arises from Dr. Laura Tavernier’s alleged dismissal

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Case 2:03-CV-02423-SH|\/|-tmp Document 156 Filed 08/26/05 Page 2 of 6 Page|D 173

from her employment at the University of Tennessee College of
Medicine (“the University“) in March 2003. Tavernier claims that in
dismissing her, the University violated the Family and Medical
Leave Act (“FMLA”). Tavernier also claims that Defendant Nancy
Maddox, acting in both her official and individual capacities,
violated 42 U.S.C. § 1983 and that Maddox, acting in her individual
capacity, violated the Tennessee Human Rights Act (“THRA"),
unlawfully induced.the University to breach its employment contract
with Tavernier, and tortiously interfered with Tavernier's
employment contract with the University.

On January 12, 2005, the Tennessee Attorney General's Office,
which had been representing the Defendants in this matter, filed a
motion to withdraw as counsel. The Attorney General's Office
claimed that its continued representation of various Defendants
violated Rule 1.7 of the Rules of Professional Conduct governing
joint representation. On February 10, 2005, the court held a
hearing and granted the motion, accepting the Attorney General’s
representation that impermissible conflicts of interest among the
Defendants required withdrawal. On March ll, 2005, Attorney Eugene
Forrester entered a Notice of Appearance on behalf of all
Defendants, including Dr. Midtling and Dr. Herrod in their official
capacities only. Attorney Lisa Krupicka has entered a Notice of
Appearance on behalf of Dr. Herrod, and Attorney Jeffrey Jarratt

has entered a Notice of Appearance on behalf of Dr. Midtling in his

Case 2:03-CV-02423-SH|\/|-tmp Document 156 Filed 08/26/05 Page 3 of 6 Page|D 174

individual capacity only.
II. Analysis

The movant has the burden of proving that opposing counsel
should be disqualified. McKinney v. McMeans, 147 F. Supp. 2d 898,
900 (W.D. Tenn. 2001); Bartech Industries. Inc. v. International
Baking Co.l Inc., 910 F. Supp. 388, 392 (E.D. Tenn. 1996). At a
minimum, a party seeking to disqualify adverse counsel based on a
conflict of interest must demonstrate a past or present attorney-
client relationship with the lawyer she seeks to disqualify. §egL
gég;, Dana Corp. v. Blue Cross & Blue Shield, 900 F.2d 882, 889
(6th Cir. 1990). Plaintiff has made no such showing in the instant
case. Instead, Plaintiff argues that the addition of separate
attorneys representing Drs. Herrod and Midtling in their individual
capacities does not cure whatever conflict of interest compelled
the withdrawal of the Attorney General's Office. Plaintiff does
not, however, demonstrate how she will be prejudiced by a potential
conflict of interest among the various defendants.l Thus,
Plaintiff has failed show that adverse counsel must be

disqualified.

 

l It is doubtful, therefore, that Plaintiff has standing to bring a

motion to disqualify adverse counsel on this basis. Seel e.g., Pigford v.
Veneman, 355 F. Supp. 2d 148, 156-57 (D.D.C. 2005); Colyer v. Smith, 50 F.
Supp. 2d 966, 971 (C.D. Cal. 1999).

Case 2:03-CV-02423-SH|\/|-tmp Document 156 Filed 08/26/05 Page 4 of 6 Page|D 175

III. Conclusion

For the foregoing reasons, Plaintiff’s motion to disqualify

Eugene Forrester as counsel for the Defendants is DENIED.

So ORDERED this 1"<ygiay of August 2005.

SAMUEL H. MAYS, JR.
U`NITED STATES DISTRICT J`UDGE

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 156 in
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Case 2:03-cV-02423-SH|\/|-tmp Document 156

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US DISTRICT COURT

Filed 08/26/05 Page 6 016 Page|D 177

